Case 2:05-cr-20203-.]DB Document 34 Filed 08/25/05 Page 1 of 2 Page|D 52

IN THE UNITED sTATEs uISTRICT CoURT also m;__
FoR THE WESTERN DIsTRICT oF TENNESSEE
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UNITED sTATEs oF AMERICA, 7
J/D OF TN, MEMPHIS

Plaintiff,

vs. Cr. No. 05-20203-]-B

KATHRYN BOWERS,
Defendant.

W\uJ\-/\-/\_¢'\.,I"_/\_/

 

ORDER ON NOTICE OF CASE STATUS AND
UNOPPOSED MOTION TO RESCHEDULE REPORT DATE

 

This matter came on to be heard upon notice of case status and motion to reschedule report
of defendant Kathryn Bowers. The Court accepts the Written report of the status of the casc.

For good cause shown and without objection by the United States, the Court GRANTS the
unopposed motion to reschedule the report set for Thursday, August 25, 2005, at 8:45 a.m. The
report in this cause is rescheduled for §§ /><d (day), gi g g f ¢, (rnonth), §_ (date), 2005
at g 34 5" a,m.(tirne).

The delay is excludable under 18 U.S.C. § 3161 (h)(S)(A) as the ends of justice served by

granting defendant’s motion outweigh the best interest of the public and the defendant in a speedy

tri al .

IT SO ORDERED this § 15 day of August, 2005.

 

J D DANIEL BREEN \
NI D sTATEs DISTRICT CoURT

Th`ls document entered on the docket sheet |n complaining
with Fiu|e 55 and/or 32(b) F¥~`iCrP on g / 255-112 5“

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Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:05-CR-20203 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Lorna S. McClusky
MASSEY & MCCLUSKY
3074 East Street

l\/lemphis7 TN 38128

William D. l\/lassey
MASSEY & MCCLUSKY
3074 East Street

l\/lemphis7 TN 38128

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

l\/lemphis7 TN 38103

Honorable .l. Breen
US DISTRICT COURT

